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                                     United States Sentencing Commission
                                     Mandatory Minimum Penalties for Federal Sex Offenses (2019)




                Figure 42. Average Sentence Length for Possession of Child Pornography Offenders
                Fiscal Year 2016




               Possession - No Mandatory
                                                                                       55 mos.
                   Minimum (N=633)




                       Possession - Prior Sex
                                                                                                                          136 mos.
                         Offense (N=119)



                                                  SOURCE: U.S. Sentencing Commission, 2016 Datafile, USSCFY16.




Sentencing of Possession Offenses

    Not surprisingly, the average sentence length                                    months shorter than for those subject to that penalty
for offenders convicted of possession offenses                                       (137 months). Relief had a noticeable impact on
(without a prior sex offense), which do not carry                                    sentence length for the few offenders who received
a mandatory minimum penalty, was substantially                                       it. However, because so few offenders received
shorter (55 months) than for those possession                                        relief, there is little difference in the overall average
offenders who faced a ten-year mandatory minimum                                     sentence length and the average sentence length for
penalty because of a prior sex offense conviction                                    those offenders who remained subject to the penalty.
(136 months).                                                                        The average sentence for offenders convicted of a
                                                                                     possession offense without a mandatory minimum
    As shown in Figure 43, offenders convicted                                       penalty was also shorter than the average sentence
of a possession offense (with a prior sex offense                                    for offenders convicted of a possession offense
conviction) and relieved of the mandatory minimum                                    (with a prior sex offense) who were relieved of the
penalty had an average sentence of 100 months, 37                                    mandatory minimum penalty (55 months compared
                                                                                     to 100 months).
        Figure 43. Impact of Relief on Average Sentence Length of Child Pornography Offenders Convicted of an
        Offense Carrying a Mandatory Minimum Penalty
        Fiscal Year 2016

       Convicted of an Offense Carrying a Mandatory Minimum Penalty


                                                                                                                        136 mos.



        Relieved of Mandatory Minimum Penalty


                                                                                                       100 mos.



        Subject to Mandatory Minimum Penalty at Sentencing


                                                                                                                        137 mos.


       SOURCE: U.S. Sentencing Commission, 2016 Datafile, USSCFY16.




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                                                                                                                    EXHIBIT I.001
